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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 NORTHBROOK PARK DISTRICT, on behalf of
 itself and all others similarly situated,

                Plaintiff,                             Civil Action No. 20-cv-07538

        v.

 MR. DAVID’S FLOORING                                  Hon. Robert M. Dow, Jr.
 INTERNATIONAL, LLC, DIVERZIFY+ LLC
 f/k/a MR. DAVID’S FLOORING
 INTERNATIONAL, LLC, PCI FLORTECH
 INC., VORTEX COMMERCIAL FLOORING,
 INC., CONSOLIDATED CARPET
 ASSOCIATES, LLC, COMMERCIAL
 CARPET CONSULTANTS, INC.,
 MICHAEL P. GANNON, DELMAR E.
 CHURCH, JR., ROBERT A. PATREY, JR., and
 KENNETH R. SMITH,

                Defendants.

                   ORDER GRANTING PLAINTIFF’S MOTION
            FOR APPROVAL OF ATTORNEYS’ FEES, REIMBURSEMENT
          OF EXPENSES AND CLASS REPRESENTATIVE SERVICE AWARD

       WHEREAS, this matter comes before the Court on Plaintiff’s Motion for Approval of

Attorneys’ Fees, Reimbursement of Expenses and Class Representative Service Award (the

“Motion”);

       WHEREAS, the Court, having fully considered: (i) the Settlement Agreement, dated

January 21, 2022 (Dkt. No. 77-1 at 1-40); (ii) the Court’s February 23, 2022 Preliminary Approval

Order (Dkt. No. 80); (iii) Plaintiff’s Motion for Approval of Attorneys’ Fees, Reimbursement of

Expenses and Class Representative Service Award and accompanying Memorandum of Law (Dkt.

Nos. 84-85); (iv) the supporting Joint Declaration of Interim Co-Lead Counsel (“Class Counsel”)

(Dkt. No. 85-1); and (v) all other papers and proceedings herein;
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       WHEREAS, the Court held a Fairness Hearing and hearing on Plaintiff’s Motion for

Approval of Attorneys’ Fees, Reimbursement of Expenses and Class Representative Service

Award on August 26, 2022;

       WHEREAS, having fully considered the parties’ arguments and submissions concerning

the Motion, and the applicable facts and law, the Court hereby finds and orders as follows:

       1.      All terms in initial capitalization used in this Order shall have the same meanings

as set forth in the parties’ Settlement, unless otherwise defined herein.

                                     Award of Attorneys’ Fees

       2.      Upon review of the record, the Court finds that Class Counsel’s requested award of

attorneys’ fees in the amount 32.5% of the cash Settlement Fund of $1.73 million created by the

Settlement, which is equivalent to a fee award of $561,442.95, is within the range of reasonable

attorneys’ fees percentage-of-recovery awards established by relevant precedent.

       3.      The percentage-of-recovery method for calculating attorneys’ fees is appropriate in

this action, as the Seventh Circuit expressly prefers that method in determining the award of

attorneys’ fees in class action common fund cases.

       4.      While a lodestar cross-check is not required in the Seventh Circuit, such a check

supports the reasonableness of the fee award. As of March 31, 2022, Class Counsel had already

spent at least 923 hours investigating and litigating the action, producing a total lodestar amount

of $702,860 based on each firm’s standard historical hourly rates. See Joint Declaration of Class

Counsel (“Class Counsel Decl.”), Dkt. No. 85-1 at ¶40. Thus, a fee award of 32.5% of the

Settlement Fund generates a negative multiplier of approximately 0.799 of Class Counsel’s total

lodestar. This lodestar cross-check multiplier is consistent with and below lodestar multipliers that

courts in this Circuit have found to be reasonable in comparable class action common fund cases.



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       5.      The Court-approved notices of settlement that were disseminated to the Settlement

Class informed Settlement Class Members that Class Counsel would seek a fee award up to one-

third (33.33%) of the Settlement Fund in addition to reimbursement of expenses and a $25,000

class representative service award. Dkt. No. 77-1 at 81.

       6.      Accordingly, Class Counsel’s request for an award of 32.5% of the $1.73 million

cash value of the Settlement, which is equivalent to a fee award of $561,442.95, is reasonable and

is granted.

                                   Reimbursement of Expenses

       7.      The Court finds that reimbursement of Class Counsel’s reasonably incurred

expenses should be granted.

       8.      From the inception of the litigation, Class Counsel have incurred $20,502.68 in

unreimbursed litigation out-of-pocket expenses as well as class notice and administration costs.

Class Counsel Decl., Dkt. No. 85-1 at ¶43. These collective expenses were reasonably incurred

and expended for the direct benefit of the Settlement Class, and should therefore be reimbursed.

       9.      Accordingly, Class Counsel’s request for reimbursement of litigation expenses in

the amount of $20,502.68 is granted.

                         Service Award to the Sole Class Representative

       10.     The Court finds that Class Counsel’s request for a service award to Plaintiff as the

sole class representative in the amount of $25,000 is reasonable and appropriate.

       11.     Plaintiff, as the sole class representative on behalf of the Settlement Class, has

expended considerable time and effort to aid in the investigation and prosecution of this case,

including: (i) consulting with Class Counsel and providing relevant facts and documents about its

commercial flooring project experiences as part of the initial case investigation and to prepare the



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initial and amended complaints; (ii) holding Board meetings to discuss the litigation and the terms

of the proposed Settlement; (iii) gathering various documents and information at Class Counsel’s

request; (iv) meeting telephonically and over videoconferencing with its outside corporate counsel

and Class Counsel to address numerous factual and legal issues pertaining to the case; and

(v) reviewing and approving the parties’ Settlement Agreement. See Class Counsel Decl., Dkt. No.

85-1 at ¶61.

       12.     Accordingly, in light of the significant time, effort and resources invested by

Plaintiff in this matter, Class Counsel’s request for a service award of $25,000 for Plaintiff is

reasonable, appropriate and is granted.

                                   The Court Retains Jurisdiction

       13.     Without affecting the finality of this Order in any respect, this Court reserves

jurisdiction over any matters related to or ancillary to this Order.



IT IS SO ORDERED:



Dated: 8/26/2022

                                                       The Honorable Robert M. Dow,
                                                       United States District Court Judge,
                                                       Northern District of Illinois,
                                                       Eastern Division




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